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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division



MOLLIE PIRON and STEPHANIE MERINO, on
behalf of themselves and all others similarly
situated,                                                CASE NO. 3:19-cv-00709

                            Plaintiff,

             v.

GENERAL DYNAMICS INFORMATION
TECHNOLOGY, INC.,

                            Defendant.




                         CLASS ACTION COMPLAINT FOR
                  VIOLATION OF WARN ACT 29 U.S.C. § 2101, ET SEQ.


        Plaintiffs Mollie Piron and Stephanie Merino (“Plaintiffs”) allege on behalf of themselves

 and a class of similarly situated former employees of Defendant, by way of their Class Action

 Complaint against General Dynamics Information Technology, Inc. (“Defendant”) as follows:

                                 NATURE OF THE ACTION

        1.     In the spring of 2018, General Dynamics (GDIT) acquired CSRA, a company

 which performed federal agency employee background checks for the Office of Personnel

 Management (“OPM”). The CSRA employees continued to work within GDIT on the OPM

 contract as the Civil and Homeland Security Group (the “Group”). These employees comprised

 about 1,200 Investigators and about 300 Reviewers, including their managers. These employees
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all worked from their homes, but ultimately reported up to managers Rebecca Knock and Anthony

Durante, in the Group’s Program Management Office in Falls Church, Virginia.

       2.      Upon information and belief, in the spring of 2019, GDIT management determined

the OPM work would end in September 2019, and began laying off Group employees.

       3.      The first large wave of laid off employees were sent layoff letters on or about June

19 stating they would be terminated on July 3, 2019, because of a “business decision to reduce

headcount”.

       4.      Subsequent waves of similar layoffs occurred termination dates of July 26 and

August 16. The final waves received letters on August 22 and 26 stating that “CSRA made a

business decision to end the OPM contract, and that employment would end”. Their termination

dates were September 5 or 13, 2019, respectively.

       5.      Upon information and belief, after September 13, 2019, all field investigators,

reviewers and their managers were gone, and only a few personnel associated with the Group

remained to wrap up its affairs.

       6.      Under the Worker Adjustment and Retraining Notification Act (“WARN Act”), 29

U.S.C. § 2101 et seq. (the “WARN Act” or “WARN”), an employer must provide 60 days’ notice

prior to terminating 500 or more employees in a mass layoff. or before terminating 50 or more

employees in a plant closing. The Group employees terminated in the waves of layoffs leading to

shutdown of the Group constituted mass layoffs and plant closings without 60 days’ notice, in

violation of the WARN Act.

       7.      Plaintiff and all similarly situated employees seek to recover up to 60 days wages

and benefits, pursuant to the WARN Act, from Defendant.

                                   JURISDICTION AND VENUE




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       8.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and 1367,

and 29 U.S.C. § 2104(a)(5).

       9.      Venue is proper in this District pursuant to 29 U.S.C. § 2104(a)(5).

                                          THE PARTIES

       Plaintiff

       10.     Plaintiff Mollie Piron was an employee of General Dynamics Information

Technology, Inc. and held the position of Quality Analyst Associate and worked remotely for

Defendant until her termination on or about July 3, 2019.

       11.     Plaintiff Stephanie Merino was employed as a Background Investigator III by

Defendant and worked remotely until her termination on or about September 5, 2019.

       Defendant

       12.     Defendant General Dynamics Information Technology, Inc., is a Virginia

corporation with its corporate headquarters located at 3170 Fairview Park Drive, Falls Church,

Virginia (the “Facility”) and conducted business in this district.

       13.         Until beginning on or about July 3, 2019, Plaintiff and all similarly situated

employees were employed by Defendant and worked at or reported to the Facility.

       14.     Upon information and belief, Defendant made the decision to terminate the

employment of Plaintiffs and the other similarly situated former employees between July 3 and

September 13, 2019 in mass layoffs and a plant closing.

                           WARN CLASS ALLEGATIONS, 29 U.S.C. § 2104




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       15.     Plaintiffs bring the Claim for Relief for violation of 29 U.S.C. § 2101 et seq., on

behalf of themselves and on behalf of all other similarly situated former employees, pursuant to

29 U.S.C. § 2104(a)(5) and Fed. R. Civ P. 23(a), who worked at, reported to, or received

assignments from one of Defendant’s Facility and were terminated without cause beginning on or

about July 3, 2019 through September 5, 2019, and within 90 days of those dates, or were

terminated without cause as the reasonably foreseeable consequence of the mass layoff and/or

plant closing ordered by Defendant beginning on or about July 3, 2019, and who are affected

employees, within the meaning of 29 U.S.C. § 2101(a)(5) (the “WARN Class”).

       16.     The persons in the WARN Class identified above (“WARN Class Members”) are

so numerous that joinder of all members is impracticable. Although the precise number of such

persons is unknown, the facts on which the calculation of that number can be based are presently

within the sole control of Defendant.

       17.     On information and belief, the identity of the members of the class and the recent

residence address of each of the WARN Class Members is contained in the books and records of

Defendant.

       18.     On information and belief, the rate of pay and benefits that were being paid by

Defendant to each WARN Class Member at the time of his/her termination is contained in the

books and records of the Defendant.

       19.     Common questions of law and fact exist as to members of the WARN Class,

including, but not limited to, the following:

              (a)      whether the members of the WARN Class were employees of the

Defendant who worked at or reported to Defendant’s Facility;




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               (b)      whether Defendant unlawfully terminated the employment of the members

of the WARN Class without cause on their part and without giving them 60 days advance written

notice in violation of the WARN Act; and

               (c)      whether Defendant unlawfully failed to pay the WARN Class members 60

days wages and benefits as required by the WARN Act.

        20.     Plaintiffs’ claims are typical of those of the WARN Class. Plaintiffs, like other

WARN Class members, worked at Defendant’s Facility and were terminated without cause

beginning on or about July 3, 2019 through September 13, 2019 due to the mass layoffs and/or

plant closing ordered by Defendant.

        21.     Plaintiffs will fairly and adequately protect the interests of the WARN Class.

Plaintiffs have retained counsel competent and experienced in complex class actions, including the

WARN Act and employment litigation.

        22.     On or about July 3, 2019 through September 5, 2019, Defendant terminated

Plaintiffs’ employment as part of mass layoffs or a plant closing as defined by 29 U.S.C. §

2101(a)(2), (3), for which they were entitled to receive 60 days advance written notice under the

WARN Act. Class certification of these claims is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to the WARN Class predominate over any questions

affecting only individual members of the WARN Class, and because a class action superior to

other available methods for the fair and efficient adjudication of this litigation – particularly in the

context of WARN Act litigation, where individual plaintiffs may lack the financial resources to

vigorously prosecute a lawsuit in federal court against a corporate defendant, and damages suffered

by individual WARN Class members are small compared to the expense and burden of individual

prosecution of this litigation.




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          23.   Concentrating all the potential litigation concerning the WARN Act rights of the

members of the Class in this Court will obviate the need for unduly duplicative litigation that might

result in inconsistent judgments, will conserve the judicial resources and the resources of the

parties and is the most efficient means of resolving the WARN Act rights of all the members of

the Class.

          24.   Plaintiffs intend to send notice to all members of the WARN Class to the extent

required by Rule 23.

                                      CLAIM FOR RELIEF


                         Violation of the WARN Act, 29 U.S.C. § 2104

          25.   Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

          26.   At all relevant times, Defendant employed more than 100 employees who in the

aggregate worked at least 4,000 hours per week, exclusive of hours of overtime, within the United

States.

          27.   At all relevant times, Defendant was an “employer,” as that term is defined in

29 U.S.C. § 2101 (a)(1) and 20 C.F.R. § 639(a), and continued to operate as a business until they

decided to order a mass layoff or plant closing at the Facility.

          28.   On or about July 3, 2019 through September 13, 2019, Defendant ordered a mass

layoff and/or plant closing at the Facility, as those terms are defined by 29 U.S.C. § 210l(a)(2).

          29.   The mass layoff or plant closing at the Facility resulted in “employment losses,” as

that term is defined by 29 U.S.C. §2101(a)(2) for at least fifty of Defendant’s employees as well

as thirty-three percent (33%) of Defendant’s workforce at the Facility, excluding “part-time

employees,” as that term is defined by 29 U.S.C. § 2l01(a)(8).



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       30.     Plaintiffs and the Class Members were terminated by Defendant without cause on

their part, as part of or as the reasonably foreseeable consequence of the mass layoff or plant

closing ordered by Defendant at the Facility.

       31.     Plaintiffs and the Class Members are “affected employees” of Defendant, within

the meaning of 29 U.S.C. § 210l(a)(5).

       32.     Defendant was required by the WARN Act to give the Plaintiffs and the Class

Members at least 60 days advance written notice of their terminations.

       33.     Defendant failed to give the Plaintiffs and the Class members written notice that

complied with the requirements of the WARN Act.

       34.     Plaintiffs and each of the Class Members, are “aggrieved employees” of the

Defendant as that term is defined in 29 U.S.C. § 2104 (a)(7).

       35.     Defendant failed to pay the Plaintiffs and each of the Class Members their

respective wages, salary, commissions, bonuses, accrued holiday pay and accrued vacation for 60

days following their respective terminations, and failed to make the pension and 401(k)

contributions and provide employee benefits under COBRA for 60 days from and after the dates

of their respective terminations.

       36.     The relief sought in this proceeding is equitable in nature.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs, individually and on behalf of all other similarly situated

persons, pray for the following relief as against Defendant:

       A.      Certification of this action as a class action;

       B.      Designation of the Plaintiffs as the Class Representatives;

       C.      Appointment of the undersigned attorneys as Class Counsel;




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      D.    A judgment in favor of the Plaintiffs and the other similarly situated former

            employees equal to the sum of: their unpaid wages, salary, commissions, bonuses,

            accrued holiday pay, accrued vacation pay, pension and 401(k) contributions and

            other COBRA benefits, for 60 days, that would have been covered and paid under

            the then-applicable employee benefit plans had that coverage continued for that

            period, all determined in accordance with the WARN Act, 29 U.S.C. § 2104

            (a)(1)(A);

      E.    Attorneys’ fees in accordance with, 29 U.S.C. § 2104 (a)(6); and

      F.    Such other and further relief as this Court may deem just and proper.



DATED: September 27, 2019
                                          /s/

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